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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SIERRA CLUB, et al.,                            :
                                                :
       Plaintiffs,                              :      Civil Action No.:     25-1112 (RC)
                                                :
       v.                                       :      Re Document No.:      20
                                                :
ENVIRONMENTAL PROTECTION                        :
AGENCY, et al.,                                 :
                                                :
       Defendants.                              :

                                           ORDER

               DENYING PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION


       For the reasons stated in the Court’s Memorandum Opinion separately and

contemporaneously issued, Plaintiffs’ motion for a preliminary injunction (ECF No. 20) is

DENIED.

       SO ORDERED.


Dated: July 9, 2025                                             RUDOLPH CONTRERAS
                                                                United States District Judge
